    Case 17-10941-jkf       Doc 84      Filed 04/04/18 Entered 04/04/18 11:17:20                Desc Notice
                                          of Hearing Page 1 of 1

                    UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF PENNSYLVANIA

In Re: Sharmil McKee
         Debtor(s)                                  Case No: 17−10941−jkf
                                                    Chapter: 7


                             NOTICE OF HEARING

                         To the debtor, the debtor's counsel, and any party in interest:

                  NOTICE is hereby given that a hearing will be held before the Honorable
                    Jean K. FitzSimon , United States Bankruptcy Judge to consider:

                       Motion For Contempt of Discharge Order by Michael K Pearson
                       and Philadelphia Family Court Filed by Sharmil McKee
                       Represented by GLENN A. BROWN (Counsel).

                              on: 4/19/18

                              at: 12:30 PM
                              in: Courtroom #3, 900 Market Street, Philadelphia, PA
                              19107

                                                                                For The Court
Date: 4/4/18                                                                    Timothy B. McGrath
                                                                                Clerk of Court




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                                                                                                          Form 167
